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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FT. MYERS DIVISION 2017 HAY -8 PM 12: 33

CLERK. US DISTRICT FOR
CASE NUMBER: MIDDLE DIStRicT OF FIG

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FURT MYERS FLORIDA Hes

WESTERN WORLD INSURANCE
COMPANY,

Plaintiff, R19 Cy -2.Mle-Kt-49 Moy

V.

GARDENMASTERS OF S.W. FLORIDA,
INC., a Florida corporation, and EARTHCARE
MANAGEMENT SERVICES, INC., d/b/a
EARTHCARE LANDSCAPE SERVICES,

a Florida corporation,

Defendants.
/

COMPLAINT FOR DECLARATORY JUDGMENT

Plaintiff, Western World Insurance Company (hereinafter "Western World"), hereby
brings this Complaint for Declaratory Judgment against Gardenmasters of S.W. Florida, Inc.
(hereinafter "Gardenmasters") and Earthcare Management Services, Inc., d/b/a Earthcare
Landscape Services (hereinafter "Earthcare"), and in support thereof would state the following:

PARTIES

lL, Plaintiff, Western World, is a foreign insurer incorporated in New Hampshire
with its primary place of business in Parsippany, New Jersey.

2. Defendant, Gardenmasters, is a Florida corporation with its primary place of
business in Venice, Florida. Gardenmasters regularly conducts business in Collier County,

Florida.
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3. Defendant, Earthcare, is a Florida corporation with its principal place of business
in Collier County, Florida.
JURISDICTION AND VENUE
4. Jurisdiction is proper in this Court because this matter relates to a declaratory

judgment action pursuant to the provisions of 28 U.S.C. §2201 in which the amount in
controversy is greater than $75,000. The amount in controversy is greater than $75,000 because
this action relates to a policy of insurance with limits of liability in excess of $75,000 and an
underlying claim (outlined below) in which greater than $75,000 in damages are being claimed.
Jurisdiction is also proper pursuant to the provisions of 28 U.S.C. §1332(a)(1). There is diversity
of citizenship between the parties. The provisions of the Federal Declaratory Judgment Act
permit this Court to declare the rights and obligations of the parties under the policy of insurance
at issue.

5. Venue is appropriate in this Court pursuant to the provisions of 28 U.S.C.
§1391(a) and (c) because both Defendants reside in and conduct business in this District.
Additionally, this action seeks declaratory relief in regards to a liability suit which is currently
pending between Gardenmasters and Earthcare in the Circuit Court of the Twelfth Judicial
Circuit in and for Collier County, Florida, Case Number 17-CA-00107 (hereinafter referred to as
the “underlying litigation").

BACKGROUND FACTS

6. Western World issued a general liability policy which includes limited
professional liability coverage, to Gardenmasters. The policy was in effect from September 1,
2015 to September 1, 2016. A copy of said policy is attached hereto as Exhibit 1. Said policy

will hereinafter be referred to as "the policy."
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7. Earthcare has brought a suit against Gardenmasters in the form of a counterclaim
as referenced in paragraph 5 above. As a result of this underlying litigation, Gardenmasters has
presented a claim for coverage under the Western World policy. The currently pending
counterclaim in the underlying litigation is attached hereto as Exhibit 2.

8. In the underlying litigation, Earthcare seeks damages against Gardenmasters for
damages suffered by Earthcare as the result of multiple plantings dying on the properties of
customers of Earthcare. Basically, Earthcare had contracts to provide lawn and ornamental pest
control and fertilization services to multiple customers at several properties. Earthcare retained
Gardenmasters to provide pest control and fertilization services at the properties. This included
the application of herbicides, fungicides, and/or pesticides so as to prevent death and destruction
of the plantings. In June of 2016, however, multiple plantings serviced by Earthcare began to
die. The underlying Complaint alleges that the plants died because Gardenmasters improperly
"applied the wrong herbicide, fungicide, and/or pesticide treatments to plantings." As a result of
the death of the plantings, Earthcare replaced the damaged plantings at its own cost.
Additionally, Earthcare asserts that it suffered additional damages. Earthcare sues
Gardenmasters under theories of negligence, common law indemnification, and breach of
contract. The lost plantings resulted in Earthcare suffering damages well in excess of this
Court's jurisdictional requirement of $75,000. In addition to the Earthcare claims, claims have
also been presented by other customers of Gardenmasters, arising from the same set of
circumstances where plants died after being sprayed/treated.

9. Though not clearly referenced in the underlying litigation, the plants actually died
due to the actions of a disgruntled employee of Gardenmasters named Wilber Carlos Alvarez.

Alvarez had been demoted and reprimanded by the principals of Gardenmasters. In apparent
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retribution for this action, Alvarez sprayed the plantings with a toxic mixture of products which
included a weed killer known as Manor or some other similar product. Thus, the plants died
because of the intentional wrongdoing of Mr. Alvarez in spraying the plants with weed killer or a
similarly destructive product. This was an improper use of said product. Thus, the weed
killer/product was not mixed, blended, or used in accordance with the manufacturer's instructions
or directions. Additionally, spraying of the product on the plants was violative of various
statutes and regulations relating to the use of said product.
CLAIM FOR DECLARATORY JUDGMENT

10. This is an action for declaratory judgment against both Gardenmasters and
Earthcare. Pursuant to the provisions of 28 U.S.C. §2201.

11. Paragraphs 1 through 9 above are incorporated herein by reference.

12. | Western World seeks a ruling that there is no indemnity coverage owed under the
policy for the claims brought by Earthcare against Gardenmasters in the underlying litigation.,
and any other claims involving said incident. Thus, Western World is specifically seeking a
ruling that there is no obligation to pay any judgment or settlement rendered in conjunction with
the underlying litigation, or in regard to any other claim arising from the incident in question.

13. The underlying litigation and other claims are not covered under the policy due to
the policy's pest control services limitation endorsement. This endorsement specifically provides
that:

This insurance does not apply to any claim arising out of... any
product not mixed, blended, or used in accordance with the
manufacturer's instructions or directions.

Spraying of the plantings with Manor and/or a similar product did not involve a proper,

mixing, blending, or use of the product in accordance with the manufacturer's instructions or
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directions. Thus, there is no indemnity coverage owed under the policy due to the pest control
services limitation endorsement.

14. —‘ There is also no coverage under the policy due to the policy's intentional acts
exclusions. Both the main policy form and the professional liability coverage form contain an
intentional acts exclusion providing that there is no coverage for any property damage expected
or intended from the standpoint of the insured. Because Mr. Alvarez intended to kill the plants,
there is no coverage for Gardenmasters' alleged vicarious liability for the wrongdoing of Alvarez.

15. There is also no coverage under either the main policy part or the professional
liability coverage part because both parts contain a pollution exclusion providing that there is no
coverage for property damage arising out of the actual "discharge, dispersal, seepage, migration,
release, or escape of pollutants.” Pollutants are defined as any "solid, liquid, gaseous, or thermal
irritant or contaminant, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and
waste." The product sprayed on the plants constitutes a pollutant, and, therefore, the resulting
damage falls within the policy's pollution exclusions. Further, the policy's "pesticide or
herbicide applicator coverage" endorsement does not restore coverage and make the pollution
exclusion inapplicable under these facts. This endorsement to the policy provides that the
pollution exclusion is inapplicable "if the operations meet all standards of any statute, ordinance,
regulation, or license requirement of any federal, state or local government which apply to those
operations." The use of the product in the manner utilized by Mr. Alvarez was violative of
statutes, ordinances, and regulations which relate to the proper use of said product. Additionally,
it was violative of licensing requirements. Thus, the pesticide or herbicide applicator coverage
exception to the pollution exclusion is inapplicable and the pollution exclusion also bars

coverage.
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16. The policy also contains standard damage to your property exclusions which
specifically provide that there is no coverage for:

"Property damage" to:

(4) Personal property in the care, custody, or control of the
insured;

(5) That particular part of real property on which you or any
contractors or subcontractors working directly or indirectly
on your behalf or performing operations, if the "property
damage" arises out of those operations; or

(6) That particular part of any property that must be restored,
repaired, or replaced because "your work" was incorrectly
performed on it.

In this case, the plants were damaged while Gardenmasters was performing operations,
caring for, and/or working on said plants. Because the plants were damaged while
Gardenmasters was working on and with them, exclusions J(4), J(5), and J(6) also preclude
coverage.

17. The policy also includes a property damage coverage extension which provides
that for the operations of pest control and lawn care, that exclusions J(4) and J(5) do not apply to
property damage resulting from the insured's operations. This section of the policy, however,
goes on to provide that for such operations, the limits of liability are $5,000 each occurrence /
$25,000 aggregate. As indicated in number 16 above, exclusion J(6) results in there being no
coverage for the claim, and, therefore, this property damage coverage extension does not restore
any coverage. To the extent, however, the Court finds that exclusion J(6) is inapplicable, the

property damage coverage extension would limit the available coverage to $5,000 each

occurrence / $25,000 aggregate, because the claim falls within the parameters of exclusions J(4)
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and/or J(5). Thus, if the Court finds coverage to otherwise exist under the policy, the limits of
liability should be limited to $5,00 each occurrence / $25,000 aggregate due to the property
damage coverage extension endorsement. Further, it is the position of Western World that the
alleged wrongdoing qualifies as only a single occurrence, and, therefore, the limits of liability are
limited to $5,000, rather than the $25,000 aggregate.

18. There is also an additional reason that the professional liability part of the policy
affords no coverage. As indicated above, said part of the policy affords no coverage due to the
pest control services limitation endorsement, the fact that the intentional act exclusion applies,
and due to the pollution exclusion contained within said policy form. Additionally, the
professional liability part of the policy specifically limits coverage to wrongdoings which qualify
as a "professional incident." The alleged wrongdoing does not qualify as a "professional
incident” as defined in the professional liability coverage form. Specifically, the form limits
coverage to professional services "but only of the type described in the schedule of this coverage
part." No professional services are described in the professional liability coverage form so this
section of the definition of "professional incident” affords no coverage. Professional incident is
also defined to include negligent acts or omissions of the insured in the furnishing of health care
services. No health care services were being provided in conjunction with the claim brought in
the underlying litigation. Thus, the professional liability coverage form is simply inapplicable
because the claim does not arise from a covered “professional incident" as defined in the
professional liability coverage form.

19. After the plants began to die, Gardenmasters placed Western World on notice of
the event. Western World then began investigating why the plants had died. During this

investigation, representatives of Gardenmasters basically told Western World's investigators that
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the plants had been sprayed with the product Meridian, which is a product intended to be sprayed
on plants. The representatives of Gardenmasters indicated they had no explanation for why the
plants had died. In actuality, the representatives of Gardenmasters knew that Mr. Alvarez had
intentionally sprayed the plants with the weed killer Manor or some similarly toxic substance.
The insureds did not disclose this information to Western World. Thus, the insureds
representatives deceived Western World as to how the events had occurred. This constitutes a
violation of the policy's provision requiring the insured to cooperate with the insurer's
investigation of the claim. Thus, Western World seeks a ruling that no coverage exists under the
policy due to the insured's wrongful and deceitful actions related to reporting of the loss to
Western World.

20. There is an ongoing dispute between Western World and Gardenmasters
regarding the issue of whether the Western World policy affords any coverage for the claims
brought in the underlying litigation and the other claims against Gardenmasters. Because there is
an ongoing dispute between the parties, this matter is subject to a declaratory decree by the
Court. Western World specifically requests that this Court enter a declaratory judgment finding
that Western World has no obligation to afford any indemnity coverage for the claims brought in
the underlying litigation and the other claims. There is a real and existing dispute between the
parties, and Western World needs declaratory relief to determine the parties’ rights and
obligations under the policy of insurance as to the claims for indemnity under the policy.

21. Earthcare is included as a party in this declaratory judgment action because of the
requirements of Florida and Federal law that an underlying plaintiff be included in any coverage
dispute between an insurer and its insured for said coverage decision to be binding and res

judicata upon said plaintiff.
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22. | Western World therefore requests that this Court entertain this Complaint for
Declaratory Judgment and enter a declaratory decree holding that in regards to the underlying
litigation and related claims no indemnity coverage is owed and, therefore, Western World
cannot be required to pay any judgment or settlement relating thereto. It is also requested that

Western World be awarded its costs and any other relief this Court deems necessary.

Dated this 4 day of May, 2017, A, Wy i /, 4

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